                        Case 4:00-cr-00318-BAE Document 92 Filed 03/13/08 Page 1 of 1
%AO 247 (02/08) Order Regarding Motion for Sentence Reduction


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                         Southern District of Georgia

                    United States of America                         )
                                v.                                   )
                                                                     ) CaseNo: CR400-00318-002
                         Jennifer Dixon
                                                                     ) USM No: 10595-02 1
Date of Previous Judgment: March 20, 2001                            ) Richard M. Darden
(Use Date of Last Amended Judgment if Applicable)                    ) Defendant's Attorney


                    Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

       Upon motion of         the defendant Lithe Director of the Bureau of Prisons flthe court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
         EI DENIED. El GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in
                             thelast judgment issued) of _________________ months is reduced to __________________________

I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:                    31                           Amended Offense Level:            29
Criminal History Category:                  I                           Criminal History Category: ______________
Previous Guideline Range:               120 to 135 months               Amended Guideline Range: 120         months

II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
   The reduced sentence is within the amended guideline range.
R The previous term of imprisonment imposed was less than the guideline range applicable to th&çlefendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is compaably les.an the
   amended guideline range.
                                                                                                                   H
Li Other (explain):




III. ADDITIONAL        COMMENTS: Despite the amendment to the crack cocaine guideline, the dfendant still faces
a statutorily required minimum sentence often years. In any event, the Court considers this defendant has already
received as much leniency as she is due as a result of her plea negotiations.

Except as provided above, all provisions of the judgment dated March 20, 2001,                          shall remain in effect.
IT IS SO ORDERED.


Order Date          March 13, 2008
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                                                                        B. Avant Edenfield
                                                                        United States District Judge
Effective Date:                                                         For the Southern District of Georgia
                     (if different from order date)                                           Printed name and title
